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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

In Re: KATRINA CANAL BREACHES

CONSOLIDATED LITIGATION CIVIL ACTION NO.: 05-4182

JUDGE: DUVAL

PERTAINS TO:

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* MAGISTRATE: WILKINSON
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INSURANCE: Robinson, 07-3220 *
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MOTION TO DISMISS

Plaintiff Mamie Robinson ("Robinson") has resolved her dispute with defendant
Metropolitan Property and Casualty Insurance Company. As a result of this settlement,
Robinson respectfully requests that all of her claims and this lawsuit be dismissed, with

prejudice, each party to bear its own costs.

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WHEREFORE, Mamie Robinson prays that her claims in this lawsuit be

dismissed, with prejudice.

Respectfully submitted,

William P. Connick, #14158

Connick and Connick, LLC

2551 Metairie Road

Metairie, Louisiana 70005

Telephone: (504) 838-8777

Attorneys for Plaintiff Mamie Robinson

CERTIFICATE

I hereby certify that a copy of the above and foregoing Motion to Dismiss has

been served upon all counsel of record by placing same in the United States mail, postage

prepaid and properly addressed, this 30" day of September, 2008.

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William P, Connick

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